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   JS-6

                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES - GENERAL


Case No.: 2:21-cv-03801-SB-E                                   Date:    10/13/2021


Title:    Shanee Wilson v. Walmart Inc. et al.


Present: The Honorable        STANLEY BLUMENFELD, JR., U.S. District Judge
                   Victor Cruz                                       N/A
                   Deputy Clerk                                 Court Reporter

    Attorney(s) Present for Plaintiff(s):            Attorney(s) Present for Defendant(s):
                  None Appearing                               None Appearing

Proceedings:         [In Chambers] ORDER DISMISSING CASE DUE TO
                     SETTLEMENT

         On October 13, 2021, Plaintiff’s counsel filed a Declaration. Dkt. No. 18.
  The Declaration states that the parties agreed to settle this matter after attending
  mediation with Darrell Forgey, Esq. on October 7, 2021. Id. ¶ 4. This action is
  therefore dismissed in its entirety without prejudice. For 90 days from the date of
  this order, the Court retains jurisdiction to vacate this order and to reopen the
  action nunc pro tunc on motion of any party. Any such motion shall include a
  reasonably detailed declaration of due diligence in attempting to complete the
  settlement. By operation of this order and without further court action, the
  dismissal in this case will convert to a dismissal with prejudice on the 91st day,
  absent a timely motion to vacate and reopen. If the case is reopened, the parties
  should be prepared for an expedited trial schedule.

           IT IS SO ORDERED.




  CV-90 (12/02)                    CIVIL MINUTES – GENERAL             Initials of Deputy Clerk VPC

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